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           IN THE UNITED STATES DISTRICT COURT
  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA (HARRISBURG)

ROBERT D. KLINE,

                             Plaintiff,

                                               CIVIL ACTION
vs.                                            NO. 1:20-CV-00677-SES

THE ALIERA COMPANIES, INC. &
SHELLEY STEELE,

                             Defendants.

        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
      Whereas Defendants The Aliera Companies Inc. and Shelley Steele

(“Defendants”) and Plaintiff Robert D. Kline (“Plaintiff”) have agreed to resolve

Plaintiff’s complaint in the matter docketed as 1:20-CV-00677-SES in the United

States District Court for the Middle District of Pennsylvania;

      Whereas, under Fed. R. Civ. P. 41(a)(1)(A)(i), a plaintiff may dismiss an

action without a court order by filing a notice of dismissal before the opposing party

serves either an answer or a motion for summary judgment; and

      Whereas Defendants have served neither an answer nor a motion for

summary judgment;

      THEREFORE Plaintiff hereby notices the voluntary dismissal of his

complaint, with prejudice.
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                                        /s/ Robert D. Kline (w/consent)
                                        Robert D. Kline
                                        2256 Fairview Road
                                        McClure, PA 17841
                                        rob@eawireless.net
                                        Plaintiff Pro Se
cc:

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Counsel for Defendants

June 18, 2020
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                         CERTIFICATE OF SERVICE

      I certify that today I served the foregoing Notice of Voluntary Dismissal

With Prejudice as follows:

      By email:

      Mr. Robert D. Kline
      2256 Fairview Road
      McClure, PA 17841
      rob@eawireless.net

      Plaintiff Pro Se

Date: June 18, 2020
                                            /s/ Anthony L. Gallia
